             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                           Plaintiff,

      v.                                      Case No. 93-CR-03403-01/06-CR-S-ODS

BOB PAILLET, et al.,

                           Defendant.

                   RESPONSE OF THE UNITED STATES TO
                 FREEDOM OF INFORMATION ACT REQUEST

      The United States of America, by the United States Attorney for the Western

District of Missouri and the undersigned attorney, submits the following response to

Michael Smith’s request for documents in the above-listed case, as ordered by the Court.

      On December 26, 2017, the Court received a request from Mr. Smith for

documents in this case for book publication research. Mr. Smith submitted a request

under the Freedom of Information Act (FOIA). Federal courts are excluded from FOIA.

5 U.S.C. §§ 551(1) and 552.

      However, the documents Mr. Smith has requested are public records. The case

file is not maintained electronically and is currently in the Springfield, Missouri,

courthouse. A request should be sent to the Clerk’s office in Springfield along with
payment for the requested documents (50 cents per page), and a self-addressed stamped

envelope. The address for records request is:

                                United States Courthouse
                         Attn: Clerk’s Office – Records Request
                          222 N. John Q. Hammons Parkway
                                 Springfield, MO 65806


                                                Respectfully submitted,

                                                TIMOTHY A. GARRISON
                                                United States Attorney

                                         By     /s/ Josephine M. Larison
                                                Josephine M. Larison
                                                Missouri Bar No. 63956
                                                Special Assistant United States Attorney
                                                901 St. Louis Street, Suite 500
                                                Springfield, Missouri 65806-2511

                                 Certificate of Service

      The undersigned hereby certifies that a copy of the foregoing was delivered on
January 19, 2017, to the CM-ECF system of the United States District Court for the
Western District of Missouri for electronic delivery to all counsel of record and was
mailed to Mr. Smith at

                               Michael Smith #14057-049
                                   F.C.I. Schuylkill
                                     P.O. Box 759
                                Minersville, PA 17954

                                                /s/ Josephine M. Larison
                                                Josephine M. Larison
                                                Special Assistant United States Attorney
